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            UNITED STATES DISTRICT           COURT

 2           WESTERN      DISTRICT OF NEW YORK

 3

 4          BLACK LOVE RESISTS IN THE RUST, ET AL. ,
            INDIVIDUALLY AND ON BEHALF OF A CLASS OF
5           ALL OTHERS SIMILARLY SITUATED,

 6
                         Plaintiffs,
 7
              - VS -                        1:18-cv-00719-CCR
 8
            CITY OF BUFFALO, N.Y. , ET AL.,
 9
                         Defendants.
10

11

12               CONTINUED EXAMINATION BEFORE TRIAL

13                         OF BYRON LOCKWOOD

14                       APPEARING REMOTELY FROM

15                         BUFFALO, NEW YORK

16

17                          August 17, 2023

18                          At 1:00 p.m.

19                          Pursuant to notice

20

21          REPORTED BY:

22          Rebecca L. DiBello, RPR, CSR(NY)

23          APPEARING REMOTELY         FROM ERIE COUNTY, NEW YORK




           DEPAOLO CROSBY REPORTING SERVICES, INC.
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            REMOTE              APPEARANCES

 2
            APPEARING FOR THE PLAINTIFFS, BLACK LOVE
 3          RESISTS IN THE RUST, ET AL., INDIVIDUALLY AND
            ON BEHALF OF A CLASS OF ALL OTHERS SIMILARLY
 4          SITUATED:

5                               NATIONAL CENTER FOR LAW AND
                                ECONOMIC JUSTICE
 6                              BY: CLAUDIA WILNER, ESQ.
                                275 Seventh Avenue, Suite 1506
 7                              New York, New York 10001
                                (212) 633-6967
 8
            APPEARING FOR THE DEFENDANTS, CITY OF BUFFALO,
 9          N.Y. , et al.:

10                              HODGSON RUSS LLP
                                BY: PETER SAHASRABUDHE, ESQ.
11                              And HUGH RUSS, ESQ. ,
                                140 Pearl Street
12                              Buffalo, New York 14202
                                (716) 848-1508
13

14

15
            ALSO PRESENT: Cheyenne Freeley, Hodgson Russ
16                        Anjana Malhotra

17

18

19

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23




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                     MR. SAHASRABUDHE:         Form.

 2      A.   If there    was a change to that policy I'm quite

 3           sure it would have been mentioned to me.                      I

 4           just don't remember there being a change.

5       Q    In May of 2020      you also decided to eliminate

 6           the Housing Unit, right?

 7                   MR. SAHASRABUDHE:         Form.

 8      A.   Yes.    The Housing Unit was eliminated.

 9      Q.   And was that     your decision        or a decision of

10           the BMHA?

11      A.   I think it was a mutual decision               with the City

12           and the BMHA.

13      Q.   And why was the Housing Unit eliminated?

14                   MR. SAHASRABUDHE:         Form.

15      A.   There   were -- the Housing Unit -- BMHA was

16           paying the City I       want to say 600 some

17           thousand.      I'm not sure of the exact amount

18           and it became -- it was -- I guess it was time

19           to renew    that contract and from what it was

20           costing the city to pay the officers was much

21           more than    what was being paid to the City and

22           then there was also citizens that wanted their

23           own patrol.




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                     They didn't want police patrolling BMHA.

 2           So that was a discussion with the City and

 3           BMHA and I guess the contract just wasn't

 4           renewed, so when it wasn't renewed we

5            disbanded the unit.

 6      Q.   Did anything replace the Housing Unit?

 7                   MR. SAHASRABUDHE:           Objection to form.

 8      A.   They came up -- yes.          They came up with an

 9           idea of each district will have a community

10           police officer assigned to the housing complex

11           unit.

12      Q.   And what was the job responsibility of the

13           community policing officer?

14      A.   The job was to do community policing in the

15           housing complex to assist citizens to work

16           with the children, to help setup programs over

17           there and also attend the meetings.

18      Q    Did the job of the community policing officer

19           include traffic enforcement around the BMHA

20           building?

21                   MR. SAHASRABUDHE:           Form.

22      A.   If there was a traffic violation then their

23           job was to enforce the traffic violation, yes.




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